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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES

Date: January 12, 2021            Time: 11:14-11:33 a.m.             Judge: Edward J. Davila
                                  Total Time: 19 Mins.
Case No.: 20-cr-00432-EJD- Case Name: UNITED STATES v. Ole Hougen(NP)(WAIVED)
1

Attorney for Plaintiff: Marissa Harris, Michael Johnson Songer

Attorney for Defendant: Severa Keith


 Deputy Clerk: Adriana M. Kratzmann                  Court Reporter: Irene Rodriguez

 Interpreter: N/A                                    Probation Officer: N/A


                           PROCEEDINGS – FURTHER STATUS CONFERENCE
                              Via Zoom Webinar Remotely due to COVID19

Defendant is not present, and a waiver of appearance was filed (Dkt. 40 filed 1/11/2021). The parties
consent to the proceeding being held via Zoom video due to COVID19. Hearing held.
The Court set a Jury Trial date of Tuesday, March 30, 2021 at 9:00 a.m. The estimate length of trial is 7
court days. The tentative trial schedule is as follows: March 30, 31, April 1(PM), 2, 5 (PM), 6, 7, 9,
12(PM), 13 and 14/2021. The Court set a pretrial conference date of Friday, March 19, 2021 at 1:00 pm
(estimate length 2-3 hrs) special set and scheduled with the SRJ calendar.
Pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the ends of justice served in granting the
continuance outweighed the best interests of the public and the defendant in a speedy trial, and excluded
time from 1/12/2021 through and including 3/30/2021. For the reasons stated on the record, time is
excluded pursuant to 18 U.S.C. §3161(h)(7)(B)(iv).

CASE CONTINUED TO: March 19, 2021 1:00 P.M. for Pretrial Conference.
Jury Trial set for March 30, 2021 at 9:00 a.m.




                                                                                         Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                             Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                Original: Efiled
 I: Interpreter
                                                                                                           CC:
                 Case 5:20-cr-00432-EJD Document 43 Filed 01/12/21 Page 2 of 2




Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady,
the government has a continuing obligation to produce all information or evidence known
to the government that is relevant to the guilt or punishment of a defendant, including,
but not limited to, exculpatory evidence.

Accordingly, the Court Orders the government to produce to the defendant in a
timely manner all information or evidence known to the government that is either:
(1) relevant to the defendant’s guilt or punishment; or (2) favorable to the defendant on
the issue of guilt or punishment.

This Order is entered under Rule 5(f) and does not relieve any party in this matter
of any other discovery obligation. The consequences for violating either this Order or the
government’s obligations under Brady include, but are not limited to, the following:
contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
of evidence, and dismissal of charges.

EXCLUDABLE DELAY:
Category – Effective preparation of Counsel.
Begins – 1/12/2021
Ends – 3/30/2021




                                                                                     Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                         Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                            Original: Efiled
 I: Interpreter
                                                                                                       CC:
